                                                                                                               E-FILED
                                                                          Wednesday, 14 April, 2021 11:28:40 AM
                                                                                  Clerk, U.S. District Court, ILCD

                                Inmate Discovery Receipt

Inmate Name: Last, First, MI               Federal Case No:               Number of CDs/DVDs:
Randle, Mark                              20-30060
Defense Attorney’s Name:                   Business Address:              Phone:
Rosana E. Brown                           Federal Public Defender 217-492-5070
State Bar No:                             600 E. Adams St., 3d fl Fax:
                                          Springfield, IL 62701   217-492-5077
If you are bringing electronic discovery into the institution to view with your client, you may NOT
leave the material with the inmate. If you wish for your client to maintain a copy of the electronic
discovery in his/her possession, you must send it through the mail following the below instructions.

Package Requirements:

    •   You may only send in CDs containing discovery received from the US Attorney’s Office.
    •   The original of this form must be included in the package to be mailed to the facility. If sending
        multiple packages, each package containing electronic discovery material must contain a copy of
        this form.
    •   The envelope containing the material must be clearly marked with the attorney’s name
        (including language that identifies that person as an attorney), the inmate’s name, register
        number, and address, and the following statement: “LEGAL MAIL”.

Attorney Certification of Discovery Material:

I,_____________________, hereby declare that the items contained in this package consist solely of my
client’s (or defendant’s) discovery material. I understand that any unauthorized material contained in this
package will result in the entire package being returned undelivered. I also certify that all of the
information contained on this form is true and correct to the best of my knowledge.

_________________________________
Attorney’s Signature         Date

                                          Detention Facility Use:

Please confirm receipt of the enclosed material by sending an email to ilcclientdiscovery@fd.org. In your
email please confirm the number of CDs/DVDs received. Upon confirmation from defense counsel that
the discovery material can be returned to the United States Attorney’s Office, please fill out this form and
return the form and CDs/DVDs in the enclosed, pre-addressed, postage paid envelope.

I ___________________________ am returning the following number of CDs/DVDs received in this case
file _______.


                                                                                   ______________________
                                                                                        Signature
     Rules Governing Use of Electronic Storage Media to View Legal
                               Materials



You are not permitted to leave the computer room without returning all media to the
Facility representative.

Media will be powered up when given to you, and powered down when they are
returned.

Other inmates are not permitted to be gathered around the computer while you are
using it.

You may not save information to any storage media to include CDs, DVDs, floppy
disks, USB devices or hard drives, nor may you print anything. Any notes taken by you
are subject to inspection and confiscation by facility staff.




I understand that if I do not abide by these rules, I may lose my access to the
computer system to view my legal materials on electronic storage media.




____________________                        ____________________
Signature                                   Date
    ELECTRONIC DISCOVERY VIEWING LOG
Legal data on electronic storage media (CDs or DVDs only) may be accepted by
the institution only if it is mailed from the inmate’s official legal representative or
the U.S Attorney's Office. Once received, the Jail Staff will ensure the media is
examined in order to verify it contains only legitimate legal documentation.
Inmates are not permitted to maintain or transport the electronic removable
storage media. The tracking log (below) must be used to track all material given
to and returned by the inmate. Inmates must return all media to the issuing staff
member prior to leaving the computer room. Each inmate needing access to the
computer system must make an official request using the subject of Inmate Legal
Discovery.

Staff will have the inmate read and sign the Rules Governing Use of Electronic
Storage Media to View Legal materials. This form will be kept with the log and
computer discovery disc(s). Facility staff MUST power on the computer prior to
each session and power down the computer prior to the computer being used
for any other inmate (instructions on back). Any inmates with computer access
issues shall report the issue to the assigned staff member.

Facility staff will determine the hours when an inmate can review the legal
material using the computer.
INMATE   DATE   Computer   DISC   START   RETURN   DEPUTY   ALL Disks Returned
                 Number     #      TIME    TIME     ID #    (deputy signature required)
   Randle, Mark                                  20-30060




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